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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

Sancilio Pharmaceuticals Company, Inc., et al.,1                Case No. 18-11333 (CSS)

Debtors.                                                        (Joint Administration Requested)



         DECLARATION OF GEOFFREY GLASS IN SUPPORT OF THE DEBTORS’
           CHAPTER 11 PETITION AND REQUESTS FOR FIRST DAY RELIEF

         I, GEOFFREY GLASS, hereby declare, under penalty of perjury, as follows:

         1.      I am the President and Chief Executive Officer of Sancilio Pharmaceuticals

Company, Inc. (“SCP”), Sancilio & Company, Inc. (“SCI”) and Blue Palm Advertising Agency,

LLC (“Blue Palm”; collectively with SCP and SCI, “Sancilio” or the “Debtors”). I am also a

member of the Board of Directors of SCP. I perform my duties from the Debtors’ corporate

offices located at 2129 N. Congress Avenue, Riviera Beach, FL 33404.

         2.      I have more than twenty years of experience in life sciences and pharmaceuticals

industry. Before joining Sancilio, I served in senior executive roles at Valeant Pharmaceuticals,

Patheon Pharmaceuticals, and Banner Life Sciences. I have also worked as a consultant in the

life sciences industry at Ernst & Young, Cap Gemini and Clear Sciences. In addition, I have

served on the Board of Directors of Locus Biosciences, a leading biotech company utilizing

CRISPR technologies for precision medicines. As a result of this extensive background, I have

deep experience in the business, financial and other aspects of the life sciences and

pharmaceuticals industry.


1
  The Debtors in these Chapter 11 Cases, along with the business addresses and the last four (4) digits of each
Debtor’s federal tax identification number, if applicable, are: Sancilio Pharmaceuticals Company, Inc., 2129 N.
Congress Avenue, Riviera Beach, FL 33404 (3353); Sancilio & Company, Inc., 2129 N. Congress Avenue, Riviera
Beach, FL 33404 (7166); Blue Palm Advertising Agency, LLC, 2129 N. Congress Avenue, Riviera Beach, FL
33404 (n/a).
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       3.      I   joined Sancilio's Board of Directors in December 2017 and became its President

and CEO in January 2018. In these capacities, I have become familiar with the Debtors' day-to-

day operations, business and financial affairs.

       4.      I submit this declaration (the'oDeclaration") to assist the Court,    as   well   as creditors


and other parties in interest, in understanding the circumstances that compelled the commencement

of these chapter 11 cases (the "Chapter LL Cases") and also in support             of: (a) the Debtors'
voluntary petitions for relief under chapter 11 of         title 1l of the United     States Code (the

"Bankruptcy Code") filed on the date hereof (the "Petition Date"); and (b) the relief that the

Debtors have requested from the Court in the form of various motions and applications filed on or

about the Petition Date and described herein (collectively, the "First Day Motions").

        5.     Except as otherwise indicated herein, all facts set forth in this Declaration are based

upon my personal knowledge of the Debtors' operations and finances, information learned from

my review of relevant documents, information supplied to me by other members of the Debtors'

management and the Debtors' advisors, or my opinion based on my experience, knowledge, and

information concerning the Debtors' operations and financial condition. I am authorized to submit

this Declaration on behalf of the Debtors, and, if called upon to testify, I could and would testify

competently to the facts set forth herein.

        6.     Part I of this Declaration provides an introduction of the Debtors and these Chapter

11 Cases. Part     II of this Declaration   describes in more detail the Debtors' corporate structure,

business, prepetition capital structure, the developments that led to the Debtors' chapter 11 filings,

and the Debtors' goals in these Chapter 11 Cases. Part          III   describes the Debtors' request for

authority to enter into the DIP Facility (as defined below) and the facts in support thereof. Part IV

sets forth the relief requested by the various First Day Motions and the facts supporting such         relief'
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                                                                  I.
                                                            Introduction

          7.            Sancilio is a private pharmaceutical development and manufacturing company. Its

business is comprised of multiple business lines including: (i) the development of proprietary

prescription medicines using a unique and proprietary solubility enhancement technology called

Advanced Lipid Technologies                        ("ALT"), including Sancilio's lead product candidate under the

ALT platform for the treatment of sickle cell disease in the pediatric population; (ii) over-the-

counter and behind-the-counter omega-3 dietary supplements under the brand "Ocean Blue"; (iii)

prenatal vitamins and dental health supplements that operate as "generics" dispensed at

pharmacies; and (iv) third-party development and manufacturing services for other companies.

           8.           ln2017, Sancilio began experiencing increasingly constrained            access to additional


capital and liquidity and, by late 2017, endured a liquidity crisis. In early 2018, Sancilio secured

an additional $5.5 million in equity capital to serve as bridge financing to pay overdue trade

payables pending an expected sale of the company, but that transaction was not consummated.

Accordingly, Sancilio began exploring its strategic alternatives including               a   fuither recapitalization,

refinancing or sale. Notwithstanding these efforts, Sancilio received no executable offèr t'or

rec   apítalizati   o   n or   re   financ in g.

           g.            Since mid-April the Debtors' liquidity needs have been met from protective

overadvances funded by the Prepetition Lenders (as defined below). Having no executable path

to a recapitalization or refinancing, the Debtors' commenced these cases to preserve themselves

as a going concern and                  to maximize the value of their estates. The Debtors' objectives in      these


Chapter 11 Cases are to sell all or substantially all their assets pursuant to section 363 of the

Bankruptcy Code in a flexible manner allowing for bids on all their assets, one or more of their

business lines, or any combination thereof.
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                                                 il.
                                            Background

A.     The Debtors' Corporate Structure

       10.       Sancilio is a privately held company. A chart depicting its corporate structure is

attached as Exhibit A hereto.

       1   1.    SCP is a corporati on organized under the larvs of the State of Delaware.    It is a

holding company with no assets other than the equity of SCI and no liabilities other than the

Prepetition Secured Loans (as defined below).

        12.      SCI is a corporationorganized under the laws of the State of Delaware. It is       a


wholly-owned subsidiary of SCP. It is the Debtors' operating entity. In adclition to other    assets,


liabilities and operations more fully set forth below, SCI has three wholly-owned subsidiaries:

(i) Blue Palm, (ii) Sancilio Medical Technology (Shanghai) Co., Ltd ("Sancilio China");          and


(iii) Sancilio Pharmaceuticals Private Limited ("sancilio India"; together with Sancilio China, the

"Non-US Entities").

       13.       Blue Palm is a limited liability company formed under the laws of the State of

Florida. It is awholly-owned subsidiary of SCL Blue Palm has no assets, employees or operations,

and no liabilities other than the Prepetition Secured Loans (as defined below).

        14.      Sancilio China is a limited liability company formed under the laws of the People's

Republic of China, Sancilio China is not a debtor in these Chapter I 1 Cases. As of the Petition

Date, Sancilio China has de minimis assets and liabilities.

        15.      Sancilio India is a private limited company formed under the laws of the Republic

of India. Sancilio India is not a debtor in these Chapter 1l Cases. As of the Petition Date, Sancilio

India lras two employees and de minimis assets and liabilities.
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         16.     The Debtors intend to wind down any remaining business and operations of the

Non-US Entities and to dissolve them under local law'2

B.       The Debtors' Business

         i.      The   ALT Pløtform

         17. The ALT platform refers to                   several unique drug delivery systems and

manufacturing techniques under patent or trade secret protection for the creation of drug products

that address the challenges associated with efficient absorption of lipid-based or lipophilic active

pharmaceutical ingredients ("APIs") by the body.

         18.     Lipids are hydrophobic or amphipathic molecules, such as fatty acids (including

omega-3 fatty acids and omega-6 fatty acids), steroids (including hormones) and fat-soluble

vitamins (including vitamins A, D, E and K). Lipids do not dissolve well in water, and instead are

absorbed better by the body when taken with fats. The body's natural process to metabolize lipids

is inefficient and relies upon fats obtained from food or bile salts generated by the body in response

to eating. This biology leads to the "food effect"-the need to administer a lipid-based or

lipophilic drug product with food and the consequent inconsistency of bioavailability and efficacy

caused   by varying levels of food and patient compliance. Thus, bioavailability and effrcacy of

lipid-based or lipophilic APIs is often limited.

         ß,      Many promising APIs are lipid-based or lipophilic. Development of drug products

based on such APIs therefore faces a         dilemma. Either the API is developed into a drug product

using its native lipid form or it is converted to a non-native hydrophilic (water soluble) form'                       If
the native form is used, then the product is likely to suffer the "food             effect." If the non-native form

is used, then other challenges typically arise resulting from suboptirnal performance of the non-


2 To the extent required by the Bankruptcy Code, the Debtors   will   seek authority from the Court to take any necessary
or appropriate corporate action that may be required to wind-down and dissolve the Non-US Entities'
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                         oofirst pass
native form for from the              effect"-{he processing of hydrophilic compounds in the liver

before they reach the intended treatment site in the body.

       20,     Drug products developed under the ALT platform avoid this dilemma. Such drug

products are designed to improve the body's ability to absorb and metabolize efficiently lipid-

based or lipophilic APIs in the absence of   food. The benefits of drug products designed under the

ALT platform relative to traditional methods for developing lipid-based or lipophilic APIs include

enhanced consistency and predictability of eff,rcaby and results, reduced dosing þotentially 50%

less than drug products developed using traditional methods), and smaller, easier        to swallow

capsules.

       i¡,     Propríetøry Drug Products

       2L      Using the ALT platform, Sancilio has focused on creating a line of proprietary drug

products candidates that,   if regulatory approval is obtained, would   target disorders and diseases

that may be correctable by restoring the body's natural lipid balance (the "Proprietary Drug

Products Line").

        22.    Foremost among these candidates         is Altemia, which is being      developed for

treatment of sickle cell disease for pediatric patients, Altemia is encapsulated in a soft gelatin

capsule and intended to be taken   orally. Altemia has garnered Orphan Drug status from FDA (US

regulatory agency) and EMA (European regulatory agency) and is poised to enter a Phase III

pivotal clinical study for the next step of development.

        23.    Beyond Altemia, Sancilio has a deep AlT-based pipeline of other proprietary drug

products candidates in preclinical or early exploratory stages. These include SC401, which targets

severe hypertriglyceridemia; SC403, which targets short bowel syndrome; SC410, which targets

non-alcoholic fatty liver disease; SC4l2, which targets retinitis pigmentosa and macular

degeneration; and SC4l3, which targets epilepsy'
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           ¡¡í.    Dietary Supplements

           24.     Sancilio also manufactures and markets two lines of dietary supplements.

           25.     The first line is the Ocean Blue brand of over-the-counter and behind-the-counter

supplements of highly concentrated omega-3 fatty-acid fish oil (the "Ocean Blue Line"), which

are intended to help support cardiovascular and metabolic          health. The Ocean Blue supplements

are characterized by increased bioavailability of desirable fatty acids due to the purity of the

component fish      oil.   They have also been clinically shown to maintain health triglyceride levels.

The behind-the-counter supplements in the Ocean Blue Line are available from pharmacies within

national and regional retail stores, and the over-the-counter supplements are nationally distributed

and available at retail directly to consumers.

           26.     The second line is comprised of prescription prenatal vitamins and dental health

supplements (the "Prenatal and Dental Health Supplements                           Line"; together with the

Proprietary Drug Products Line and the Ocean Blue Line, the "Business Lines"). The prenatal

vitamins provide vitamin and nutritional supplementation throughout pregnancy and during the

postnatal period for both the lactating and non-lactating mother. These products contain no

artificial color, flavors, sugars, or dyes, and        are gluten and saccharin       free. The dental health

supplements are fluoride-based and are intended to be used as a substitute for fluoridated water for

individuals living in areas where drinking water is non-fluoridated. Many Prenatal and Dental

Health Supplements receive        a   prescription, and are dispensed by   a   pharmacist. Sancilio sells these

product through drug wholesalers, and directly to retail pharmacies.
       '
           iv.     Third Party Services

           27.     Sancilio offers a comprehensive range of development and manufacturing services

to third party pharmaceutical companies at its facilities (the     "Third Party Services Line").        These

services are offered in connection with a license to the ALT platform or without it              if ALT is not
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required for the product and service. Sancilio assists these third-party customers with all phases

of development from concept to market, and its services generally are provided on a fee-for-service

basis. Sancilio negotiates to become the registered manufacturer for the projects for which its

offers development services. The customers for these services range in size, and are focused on

the commercialization of branded and generic pharmaceutical products.

C.     The Debtors' Prepetition Capital Structure

       L       Prepetitíon Secured Loøns

       28.     Before the Petition Date, the Debtors and MidCap Financial Trust, as agent (in such

capacity, the "Prepetition Agent") for the Lenders thereunder and the financial institutions or

other entities from time to time party thereto as Lenders (collectively, the "Prepetition Lenders,"

and together with the Prepetition Agent, the "Prepetition Secured Parties") entered into that

certain (i) Credit and Security Agreement, dated as of February 1,2016 (as amended by that certain
                                                                      'Waiver,
First Amendment to Credit and Security Agreement and Limited                     dated as of   April   13,


2017; (ii) Second Amendment to Credit and Security Agreement and Limited Waiver, dated as              of

October 23, 2017; (iii) Third Amendment to Credit and Security Agreement, dated as of January

2, 2018; and (iv) Omnibus Fourth      Amendment      to Credit and Security Agreement and First

Amendment to Third Amendment to Credit and Security Agreement, dated as of January 8, 2018,

the "Prepetition Loan Agreement").

        29.    After entry into the Prepetition Loan Agreement but before the Petition Date, the

Prepetition Agent declared a default pursuant to that certain Notice of Default and Reservation of

Rights Letter, dated April 6,2018, delivered to SCP. Thereafter, the Debtors and the Prepetition

Secured Parties entered into that certain   (i) Protective Advance Letter, dated April 12,2018; (ii)

Second Protective Advance Letter, dated April 26,2018;        (iii) Third Protective Advance      letter,

dated May 3, 2018;(iv) Fourth Protective Advance Letter, dated May 10, 2018; (v) Fifth Protective
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Advance Letter, dated May I7,2018 (the foregoing Protective Advance Letters and the Prepetition

Loan Agreement, and together with will all other agreements, documents and instruments, entered

into or delivered in connection with the foregoing, collectively, the ooPrepetition Loan
Documents"), pursuant to which, among other things, the Prepetition Lenders made certain loans

and other financial accommodations to the Debtors inaggregate principal amount of not less than

$18,1 14,500 (collectively, the   "Prepetition Secured Loans").

        30.     The Prepetition Secured Loans are secured by first-priority, fully-perfected security

interests in and liens on all of Debtors' right, title and interest in, to and under the "Collateral" as

defined in the Prepetition Loan Documents (the "Prepetition Collateral").

        íi.     Unsecured Claìms

        31.     As of the Petition Date, the Debtors have unsecured obligations, not including any

deficiency claims, in the approximate amount of $5,008,299.72, consisting of accounts payable to

various trade creditors.

        i¡í,    Preferred and Common Stock

        32.     Before the Petition Date, SCP funded the Debtors' operations, working capital

needs and investmerús, inter alia,through the issuance of redeemable convertible preferred stock.

As of the Petition Date, there are five series of preferred stock outstanding.

        33,     As of the Petition Date, the common stock of SCP is privately held.

        34.     Certain of the holders of SCP's preferred stock and common stock have entered

into the Fourth Amended and Restated Stockholders' Agreement, dated as of January 9,2018,

D.      Events Leading up to these Chapter        lL   Cases

        35.     Sancilio depends on its ability to develop successfully, obtain regulatory approval

for, and commercialize     The   product candidates in its Proprietary Drug Products      Line.   These

activities require substantial working and investment capital before generating a return, and
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involve clinical trials that often inject delays, aclditional expense ancl uncertainty. Additionally,

Sancilio depends upon the performance of its other business lines including: the Ocean Blue Line,

the Prenatal And Dental Health Supplements Line and the Third Party Services Line. The pricing

and demand of all these business lines is highly variable and outside the company's control. As

described above, before the Petition Date, SCP funded these capital needs by, among other things,

obtaining the Prepetition Secured Loan and issuing preferred stock.

         36.       In2017, Sancilio experienced increasingly constrained    access to additional capital


and   liquidity, Among other challenges, the Prepetition Agent declared a default     on   April 13,2017

for Sancilio's failure to apply the cash proceeds of an asset sale in accordance with the Prepetition

Loan Agreement and a default on October 23,2017 for Sancilio's failure to generate Net Revenue

adequate to satisfy the Minimum Net Revenue Threshold (each term as defined in the Prepetition

Loan Agreement). 'Ihe Prepetition Secured Parties agreed to waive these defaults in exchange for

the terms and conditions set forth in the First Amendment to Credit and Security Agreement and

Limited Waiver and the Second Amendment to Credit and Security Agreement and Limited

Waiver.

         37   .    Notwithstanding these waivers, by the end of 2017, Sancilio encountered     a   liquidity

crisis. Sancilio was able to raise an addition $5 million in equity capital via issuance of the Series

E Preferred Stock in January 2018. This cash infusion was intended as bridge fltnancing to permit

payment of overdue trade payables pending an anticipated sale of Sancilio. This sale was not

consummated.

         38.       In light of these events, Sancilio began exploring its strategic options, including

raising new capital investment,    a   refrnancing of the Prepetition Secured Loans or one or more asset

sales.   In   July 2017,Sancilio retained RBC Capital Markets as its investment banker to assist with
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one or more potential strategic transactions. Sancilio also discussed the possibility            of   a


restructuring of the Prepetition Loans with the Prepetition Secured Parties. In addition, Sancilio

approached its existing preferred stockholders concerning the potential for additional capital

investment. However, Sancilio has found no meaningful interest in   a   recapitalization, refinancing,

restructuring or other strategic transaction.

        39.     On April 8, 2018, the Prepetition Agent declared a default for the Debtors' failure

to meet the Minimum Net Revenue (as defined in the Prepetition Loan Agreement) requirement

and for the occurence      of a Material Adverse    Change (as defined     in the Prepetition Loan

Agreement). Subsequently, the Prepetition Agent declared a further default for the Debtors' failure

to make an Interest Payment (as defined in the Prepetition Loan Agreement) due on May 1, 2018.

        40.     Since mid-April 2018, Sancilio has relied upon protective overadvances by the

Prepetition Lenders in order to meet the Debtors' ordinary course expenses. Sancilio's request for

protective overadvances are subject to weekly approval from the Prepetition Secured Parties.

There is no contractual obligation for continued funding of Sancilio's overadvance requests.

V/ithout protective overadvances from Prepetition Lenders or another source of financing, the

Company    will face an immediate liquidity crisis and have no alternative other than winding down

its operational and financial affairs.

        41.     The Prepetition Lenders have firmly stated that they will no longer fund additional

protective overadvances outside the protections of Chapter I 1 commenced to effectuate a sale of

all or substantially all of Sancilio's assets. The Prepetition Lenders have also firmly stated that

they will cause the commencement of a foreclosure action if such a chapter 11 case does not occur.

        42.     In light of the absence of opportunities for refinancing the Prepetition      Secured

Loans, and recapifalization, restructuring or other strategic alternatives other than an asset sale
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under the aegis   of Chapter 11, the Debtors commenced these Chapter 11 Cases to preserve

themselves as a going concern and to maximize value for the benefit of their estates and creditårs.

E.     Objectives for these Chapter lL Cases

        43.    The Debtors intend to sell all or substantially all their assets pursuant to section 363

of the Bankruptcy Code. As set forth below, the Debtors contemplate a flexible section                363


process pursuant to which potential bidders may bid on all of the Debtors' assets, one or more

specific Business Lines or other combinations. The Debtors have obtained two separate stalking

horse bids for the Proprietary Drug Products Line and the Prenatal and Dental Health Supplements,

on the one hand, and for the Ocean Blue Line, on the other.

        44.    Based upon the prepetition expressions        of interest for the Debtors'      assets, the


Debtors believe it unlikely that the proceeds from the sale of their assets      will be sufficient to pay

a meaningful dividend,   if   any, to creditors other than the Prepetition Lenders. After their assets

sales are consummated, the Debtors intend to wind down and liquidate any remaining operations

and assets as may be necessary and appropriate.

                                                   III.
                                           The DIP Facilitv

        45.    As part of the First Day Motions, the Debtors are filing tbe Motionfor the Entry         of

Interim and Final Orders (I) Approving Debtor-In-Possession Financing Pursuant to I I U.S.C'

çç 105(A), 362, and 364 andFed. R. Bankr. P.2002,4001 and9014 andLocal Banlcruptcy Rule

4001-2; (II) Authorizing tJse of Cash Collateral Pursuant to I     I   U.S.C.   $$   105, 361, 362 and 363


of the Banlcruptcy Code; (III) Granting Adequate Protection ønd Super-Priority Administrative

Claims; (V) Scheduling a Final Hearing; and (V) Granting Related Relief (the "DIP Motion").

Among other things, the DIP Motion requests authority for the Debtors, on the terms and

conditions set forth in that certain Debtor in Possession Credit and Security Agreement, dated as
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of June 5, 2018 (the "DIP Loan Agreement"), to incur post-petition indebtedness (the "DIP

Facility"), which includes post-petition financing in the     aggregate principal amount of not more

than $5,300,000, a $265,000 Origination Fee, and a five percent Termination Fee, from MidCap

Funding   XVIII Trust,   as the   DIP Agent (in such capacity, the "DIP Agent"), and MidCap Funding
                                                                                             ooDIP
XVIII Trust and each of the other lenders from time to time party thereto (collectively, the

Lenders"), and to use Cash Collateral (as defined in the DiP Loan Agreement) of the Prepetition

Secured Parties. I understand that the DIP Agent and DIP Lenders are affiliates of the Prepetition

Secured Parties.

          46.     The terms and conditions of the DIP Facility require, among other things, that the

Debtors conduct a sale of all or substantially all its assets pursuant to section 363 of the Bankruptcy

Code (the "section 363 Sale") in accordance with certain milestones. To maximize the value             of

its estate, and in compliance with the milestones under the proposed DIP Facility, the Debtors are

filing a motion to conduct the Section 363 Sale (the "Sale Motion"), including         a marketing and

auction process, by which the Debtors         will solicit offers and ultimately   seek approval   to sell

substantially all of its assets to the bidder or bidders with the highest or otherwise best offer. As

more fully set forth in the Sale Motion, the Debtors have selected two stalking horse bidders for

separate portions    of the Debtors' assets. The Debtors are also filing an application to retain      an


investment banker to advise and assist the Debtors in conducting the Section 363 Sale.

        47   .    In my role as President and Chief Executive Officer of the Debtors, I was actively

involved in the negotiations leading up entry into the DIP Facility lenders. The negotiations were

conducted at arm's length and in good faith. As more fully set forth below, I believe the economics

and the terms and conditions of the DIP Facility are standard and reasonable for financing of this

kind. Based on the negotiations that took place, I believe that these are the only terms on which
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the DIP Lenders     will provide the financing. As the DIP Facility   proceeds are necessary and the

best financing available at this time,   I believe that sufficient justification exists for agreeing to

these provisions. Moreover,    it is my understanding that the DIP Lenders would not have provided

financing without the bargained-for protections contained in the DIP Loan Agreement.

A.       Necessity for the DIP Facility and Use of Cash Collateral and the Debtors' Immediate
         Need for Liquidity

         48.      Since mid-April 2018, the Debtors have relied upon protective overadvances from

the Prepetition Lenders to continue operations and preserve value. Had the Debtors relied solely

on revenues from operations without these protective             overadvances, significant business

disruptions would almost certainly have resulted. As projected in the Budget (as defined in theDIP

Loan Agreement), it remains the case after the Petition Date that projected revenues are likely to

be insufficient to fund adequately the Debtors' operations and working capital needs and the

additional cash flow required to fund the administrative expenses of these Chapter 11 Cases.

Absent both approval of the DIP Facility and authorization to use Cash Collateral, I believe the

Debtors   will    almost certainly èxperience business disruptions. Moreover, the       I   believe that

approved and demonstrated access to liquidity through the DIP Facility and use of Cash Collateral

is   essential   to provide the Debtors'   employees, vendors and service providers, and other

stakeholders confidence in the Debtors' ability to continue operating while it pursues the Section

363 Sale.

         49.      Accordingly, the Debtors have an immediate and compelling need for access to

both the DIP Facility and Cash Collateral. Among other things, this access is necessary to among

other things, continue the operation of its business in an orderly manner, maintain business

relationships with customers and vendors, pay employees and satisfy other working capital and

operational needs-all      of which are necessary to preserve and maintain the Debtor's          going-
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concern value and, ultimately, conduct successfully         a Section 363 Sale.       Based on these

circumstances, the Debtors require the funding provided by the proposed DIP Facility and use of

Cash Collateral to avoid immediate and irreparable harm to its operations, business and estate.

B.     Unavailability of Alternative Financing on Unsecured or Other Basis

       50.     I believe that financing in an amount    necessary to fund these Chapter     1l   Cases is


not obtainable on an unsecured, pari passu orjunior secured basis. I understand that no potential

third-party source of financing for the Debtors, available on an expedited basis and on reasonable

terms, would agree to provide unsecured or junior secured financing in such amount in light of the

secured position of the Prepetition Secured Parties.    It is my belief that, any such potential source

of financing, on secured terms, would require liens that prime those of the Prepetition          Secured

Parties. The Prepetition Secured Parties have stated they do not consent to priming and would

object to any such request.    A   contested priming or adequate protection fight would like prove

devastating to the Debtors' business and to the contemplated Section 363 Sale, subjecting the

Debtors to a significant risk of being unfinanced or underfinanced for an extended period of time,

especially in light of the Debtors' liquidity position as of the Petition Date.

C.      Reasonableness of Terms and Conditions of DIP Facility

        51.     I believe that the terms of the DIP Facility are fair, reasonable and adequate, in light

of the circumstances of the Debtors and the DIP Lenders, and that the DIP Facility is the only

viable source of financing for these cases. Accordingly, on behalf of the Debtors, with the

assistance of their advisors, I negotiated with the DIP Lenders at arm's length and in good faith to

obtain from them the best terms available. I am confident that the DIP Facility so obtained is sized

to meet the reasonably anticipated operational costs and administrative           expenses during the

expected pendency of these Chapter 1 1 Cases as reflected in the Budget. The economics, of the

DIP Facility, including the interest rate and fees, reflect afair, market exchange for the financing
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made available to the Debtors. Similarly, the terms and conditions of the DIP Facility, including

the case milestones, consensual priming DIP Liens, and certain other stipulations, waivers and

case management features, are reasonable       in light of the Debtors' and the objectives of   these


Chapter 11 Cases. I understand that these economics, and terms and conditions, are also within

the range of typical DIP facilities in the marketplace for chapter 11 debtors in similar business,

and   with similar size and finances, of the Debtors.

D.       Reasonableness of the Adequate Protection

         52.     I believe that the proposed Adequate Protection to be provided for the benefit of

the Prepetition Secured Parties is appropriate. As set forth in the Interim DIP Order and other DIP

Loan Documents, the Debtors propose to provide the Prepetition Secured Parties with Adequate

Protection, including the Adequate Protection Liens, the Adequate Protection Super-priority

Claims, and current cash payments to the Prepetition Secure Parties payable under the Prepetition

Loan Documents for all professional fees and expenses in connection with the enforcement of the

Prepetition Loan Documents and the Chapter 11 Cases. Subject to the terms and conditions of the

Interim DIP Order, the Prepetition Secured Parties have consented to the Debtors' use of Cash

Collateral in exchange for the Adequate Protection.

         53.     Use of Cash Collateral in accordance with the terms of the Budget preserves and

maximizes the value of the Prepetition Collateral. Under the Budget, Cash Collateral will be used

to pay operating expenses, and payroll for the Debtors' employees. In addition, the Budget

provides for the expenses of administration of these Chapter 11 Cases, including to fund the

Section 363 Sale. I believe payment of these and other expenses in accordance with the terms       of

the Budget is necessary to maintain the Debtors' enterprise as a going concern and thereby to

maximizing the value of the Debtors' estates.
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                                                        IV.
                                            The First Dav Pleadinss

         54.     As noted above, concurrently with and shortly after the filing of these Chapter I 1

Cases, the Debtors are or    will   be   filing First Day Motions requesting relief necessary or appropriate

to effectuate the Debtors entry into and continued operations under Chapter                       1   1.   The Debtors

anticipate that the Court        will conduct a hearing within a business day or two after the
commencement of the Chapter 11 Cases during which the Court                        will   consider the First Day

Motions.

        55.      Generally, the First Day Motions have been designed to meet the immediate goals

of (i) establishing procedures for the efficient              administration     of   these Chapter 11 Cases;

(ii) continuing the Debtors' operations during these Chapter 11 Cases with                 as   little disruption and

loss of productivity as possible; and (iii) maintaining the confidence and support of the Debtors'

key constituencies. I have reviewed each of the First Day Motions, including the exhibits, attached

thereto, and believe that the relief sought in each of the First Day Motions is narrowly tailored to

meet the goals described above and, ultimately,           will be critical to the Debtors' ability to achieve

success in these Chapter 11 Cases.

         56. A summary            of the relief requested and the facts support each of the First Day

Motions follows.3

A.       Motion for Entry of an Order Directing Joint Administrative of Related Chapter                             11
         Cases Pursuant to Fed. R. Bankr. P. 1015(b).

         57.      Because SCI and Blue Palm are direct and indirect subsidiaries of SCP, such that

the Debtors constitute "affiliates" of one another within the meaning of section 101(2) of the




3 Capitalized terms used in Part IV but not otherwise defined in this Declaration shall have the meanings ascribed to
them in the relevant First Day Motion.
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Bankruptcy Code, the Debtors request that the Court maintain one file and one docket for the

Chapter 1 1 Cases under the SCP case and also request that the caption of each of the Chapter      11



Cases be modified to reflect the   joint administration of the Chapter   ll   Cases. Additionally, the

Debtors request that the Court avthorize the Debtors to use a combined service list for the jointly

administered Chapter 11 Cases for purposes of noticing creditors of the Debtors' estates.

        58.    Joint administration will permit the Clerk to use a single general docket for the

Debtors' Chapter 1 1 Cases and to combine notices to creditors and other parties in interest of the

Debtors' respective estates, which will protect parties in interest by ensuringthat such parties will

be apprised of the various matters before the Court in each of the Chapter 11 Cases. Additionally,

not only will joint administration of the Debtors' Chapter 11 Cases reduce fees and costs resulting

from the administration of these Chapter 11 Cases and ease the onerous administrative burden of

having to file multiple documents, but it will also ease the administrative burden for the Court and

all parties to the Chapter 11 Cases as well as obviate the need for duplicative notices, motions,

applications and orders, thereby saving the Debtors and their estates time and money.

B.      Motion of the Debtors for Entry of, an Order Authorizing the Debtors to Fite (I) A
        Consolidated Master List of Creditors and (II) A Consolidated List of the Debtors'
        Twenty Largest General Unsecured Creditors.

        59.    The Debtors seek authority to file (i) a consolidated list of the Debtors' creditors

and   (ii) a consolidated list of the Debtors' twenty (20) largest general        unsecured creditors,

exclusive of insiders. Local Rule 1007-2 provides that the Debtors are obligated to file, with their

petitions, a list containing the name and address of each of their respective creditors. Additionally,

Local Rule 2002-1(Ð(v) requires each debtor in jointly administered cases to maintain a separate

creditor mailing matrix. However, Local Rule 1001-1(c) permits modification of the Local Rules

by the Court "in the interests ofjustice."
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        60.         The Debtors maintain various computerized lists of the names and addresses of

their respective creditors that are entitled to receive notices and othel documents in these Chapter

1l Cases. The Debtors believe these lists may be consolidated        and utilized efficiently to provide

interested parties with notices and other similar documents, as contemplated by Local Rule 1007-2.

Requiring the Debtors to segregate and convert their computerized records to a Debtor-specific

creditor matrix format would be an unnecessarily burdensome task and could result in duplicate

mailings. The Debtors submit that permitting them to file a consolidated list of creditors, rather

than filing a separate creditor matrix for each Debtor, is warranted.

        61.         Additionally, Bankruptcy Rule 1007(d) requires   a chapter   1   1 debtor   to file, with its

petition,   a   list identifying the names, addresses, type and claim amounts of creditors, exclusive of

insiders, with the twenty (20) largest unsecured claims in the debtor's case. The Debtors believe

that asingle, consolidated list of their combined twenty (20) largest general unsecured creditors in

these Chapter 11 Cases would be more reflective of the body of unsecured creditors that have the

greatest stake in these Chapter 11 Cases.

C.      Motion of the Debtors for Entry of an Order Authorizing (I) the Debtors to Pay
        Prepetition Property Taxes and Regulatory Fees in the Ordinary Course of Business
        and (II) Banks and Financial Institutions to Honor and Process Checks and Transfers
        Related Thereto.

        62. In connection           with the normal operations of their businesses, the Debtors pay

property taxes to certain state and local taxing authorities and regulatory fees to certain federal and

state regulatory     authorities. Specifically, the Debtors incur real and personal property taxes and

franchise taxes in jurisdictions in which they operate in the ordinary course of business. Failure

to pay the Taxes can result in the attachment of statutory liens on property that is critical to the

Debtors' operations. Additionally, the failure to pay the Taxes may result in the irnposition of
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penalties and interest or prohibit the Debtors from operating in certain jurisdictions. The Debtors

estimate that they owe approximately $64,000 of Taxes as of the Petition Date.

          63.       Among other things, the Debtors manufacture and supply health supplements and

pharmaceutical drugs in the United States. As such, the Debtors are required to obtain various

state and federal permits and licenses            to   operate their businesses as   a drug   manufacturer,

distributor, and research facility. The majority of the Regulatory Fees the Debtors incur consists

of the registration and/or renewal fees associated with such licenses and permits. Because of the

number of licenses and permits the Debtors must maintain as well as the variety and frequency             of

their respective renewal periods, the Debtors enlist the assistance of the Corporation Service

Company to keep track of and renew, when necessary, the Debtors' permits and licenses. The

Debtors estimate that approximately $7,200 of Regulatory Fees are outstanding as of the Petition

Date.

          64.       By the motion, the Debtors seek authority to pay prepetition Taxes and Fees owed

to the Taxing and Regulatory Authorities, provided that the aggregate amount of such payments

shall not exceed $85,000. In addition, the Debtors also seek authorizationto honor (i) all checks

that remain uncashed prior to the Petition Date or that are otherwise returned by a Taxing or

Regulatory Authority as well as (ii) those Taxes and Fees subsequently determined upon audit to

be owed for periods prior to the Petition Date.

          65,       There are a number of bases for granting the relief requested in this motion,

including: (i) governmental entities might sue the Debtors' directors and officers for certain

unpaid Taxes and Fees, distracting them unnecessarily from the Debtors' efforts in these chapter

1   1 cases;   (ii) portions of the Taxes   and Fees may be entitled to   priority status pursuant to section

507(a)(8) of the Bankruptcy Code; (iii) section 363 of the Bankruptcy Code gives the Debtors
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authority to remit payment on account of such Taxes and Fees in the ordinary course of business

and   (iv) section 105 of the Bankruptcy Code and the Court's general equitable powers permit the

Court to grant the relief sought. Furthermore, nonpayment of these obligations may cause Taxing

and Regulatory Authorities to take precipitous action, which could include     filing liens, preventing

the Debtors from conducting business in applicable jurisdictions and seeking to     lift the automatic

stay, all of which could disrupt the Debtors' day-to-day operations and impose significant costs on

the Debtors' estates and destroy the going concern value of the Debtors' business.

D.       Motion of the Debtors for Entry of Interim and Final Orders (I) Prohibiting Utility
         Providers from Altering, Refusing or Discontinuing Service' (II) Deeming Utility
         Providers Adequately Assured of Future Performance and (III) Establishing
         Procedures for Determining Adequate Assurance of Payment.

         66. In connection      with the operation of their businesses and management of their

estates, the Debtors obtain electricity, gas, water, sewer, internet, telephone, and other similar

services from a number of utility companies. The Debtors' aggregate average monthly cost for

the Utility Services is approximately $33,125.

         67.     The Debtors intend to pay all postpetition obligations and expect that revenues

generated from their business operations andlor funds from their DIP financing facility and/or cash

collateral   will be suffrcient to pay all   undisputed postpetition obligations owed to the Utility

Providers in a timely manner. To provide adequate assurance of payment for future services to

the Utility Providers the Debtors propose to deposit an initial sum equal to the Debtors' estimated

average cost    for two (2) weeks of Utility Services into a segregated account, except for that of

Utility Providers holding deposits in        excess   of such amount.   Because the Debtors' average

monthly spending on Utility Services is approximately $33,125 and one Utility Provider holds          a


deposit greater than the value of two (2) weeks' worth of the Utility Service it provides, the Debtors

propose that the Adequate Assurance Deposit should be approximately $6,562.50.
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         68.     Any interruption of the Utility Services would disrupt the Debtors' ability to

operate and maintain their businesses and would thereby negatively affect the Debtors' customer

relationships, revenues and     profits.   Such a result could seriously jeopardize the Debtors'

anticipated sale process and, ultimately, their value and constituent recoveries.

         69.     By the motion, the Debtors request a determination that their Utility Providers have

been provicled   with adequate assurance of future payment and that the Debtors are not required to

provide any additional adequate assurance. Additionally, the Debtors request the Court approve

the Debtors' proposed adequate assurance procedures. Lastly, the Debtors request the Court

prohibit the Utility Providers from altering, refusing or discontinuing the provision of tltility

Services due to outstanding prepetition amounts.

E.       Motion of the Debtors for Entry of an Order Authorizing the Debtors to (A) Maintain
         Existing Insurance Policies, Pay All Policy Premiums Arising Thereunder and Renew
         or Enter Into New Policies, and (B) Continue Insurance Premium Financing
         Program, Pay Insurance Premium Financing Obligations Arising in Connection
         Therewith and Renew or Enter into New Premium Financing Arrangements.

         70. In the ordinary course of business, the Debtors maintain numerous insurance
policies with various insurance companies providing coverage for, inter alia, general liability,

excess   liability, automobiles, property, and workers' compensation. The Policies are essential to

continue to operate the Debtors' business as the U.S. Trustee Operating Guidelines require the

Debtors to maintain certain insurance coverage through the pendency of their Chapter 11 Cases.

         7I.     The Debtors finance the premiums on three (3) of the Policies pursuant to          a


premium hnancing agreement with FIRST Insurance Funding Corp. Pursuant to the PFA, the

Debtors' obligations to First Insurance are collate ralized by security interests in the Policies

financed through the PFA. Therefore, if the Debtors are unable to make payments under the PFA,

First Insurance may be permitted to terminate certain of the Policies to recoup losses. Furthermore,
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if   the Debtors cease making payments on the Policies, the Debtors may be required to obtain

replacement insurance on an expedited basis and at great cost to their estates.

          72.        The Debtors believe that nominal prepetition amounts are due and owing to the

Insurance Companies and         will come due in the days following the Petition Date. By the motion,

the Debtors request authorization         to pay all premiums      arising under the Policies, whether

prepetition or postpetition, and renew or enter into new policies as needed and to continue

insurance premium financing under the Debtors' premium financing agreement, pay insurance

premium hnancing obligations arising thereunder or in connection therewith and renew or enter

into new premium financing agreements         as needed   when the existing arrangement expires, without

further order of the Court.

F.        Motion of Debtors for Entry of an Order Authorizing the Debtors to Pay Certain
          Prepetition Claims of Materialmen in the Ordinary Course of Business.

          73.        As part of their business operations, the Debtors rely on a variety of Materialmen

to provide packaging and labelling services and materials for certain of the Debtors' manufactured

products. The Debtors seek authority pay certain Materialmen to the extent necessary to satisfy

non-disputed prepetition Lien Claims and to satisfy any potential, asserted, or actual possessory

liens,   if   any, on the goods that may be held by any Materialmen pending the payment of such

charges. Such payments are not expected to exceed approximately $22,000.

              74.    The Debtors   will only pay Lien     Claims where they believe, in their business

judgment, benefits to their estates and creditors from making such payments would exceed (a) the

costs that their estates would incur by bringing an action to compel the turnover of such goods,

and (b) the delays associated with such actions. The Debtors also request entry of an order

authorizing banks and other financial institutions to rely on the Debtors' direction to pay amounts

authorized under the motion, provided there are sufficient funds available in the Debtors accounts.
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       75. It is vital for the Chapter 11 Cases that the Debtors retrieve their goods held by
Materialmen on account      of prepetition claims for   value-added services provided     by   such

Materialmen, I believe the Court should grant this request, and authorizethe Debtors to pay certain

Materialmen in full and final satisfaction of claims giving rise to potential Liens on the Debtors'

property.

G.     Motion of the Debtors for Entry of an Order (I) Authorizing the Maintenance of Bank
       Accounts and Continued Use of Existing Business Forms and Checks, (II)
       Authorizing the Continued Use of Existing Cash Management System, (III) Waiving
       Certain Investment and Deposit Guidelines, and (IV) Granting Related Relief.

       76.     Prior to the commencement of these Chapter 1 1 Cases, and in the ordinary course

of business, the Debtors maintained 5 Bank Accounts. The Debtors' cash management system is

maintained at JP Morgan Chase. A summary of the Debtors' Cash Management System follows:

               (a) Operating Account: The Debtors maintain an Operating Account for day-to-
                   day operations, which receives non-credit card receipts directly and credit card
                   receipts transferred from the Merchant Account. Funds are transferred from the
                   Operating Account to the Payroll Account and Disbursement Account for
                   disbursements to vendors and employees.

               (b) Disbursement Account: The Disbursement Account is a zero balance account;
                   funds are automatically transferred from the Operating Account to the
                   Disbursement Account as needed for payments on all non-payroll expenses of
                   the Debtors, including, but not limited to, inventory purchases, utilities,
                   insurance premiums, and certain employee benefit premiums.

               (c) Merchant Account: The Merchant Account is also a zero balance account that
                   receives credit card payments from customers. These funds are automatically
                   transferred to the Operating Account the evening of deposit.

               (d) Payroll Account: The Debtors maintain a just-in-time Payroll Account that is
                   also a zero balance account. The Payroll Account is used to pay employee
                   salaries and commissions, payroll taxes, wage garnishments and certain
                   employee benefits when the Debtors' payroll processor, ADP debits the Payroll
                   Account for the Debtors' bi-weekly payroll. Funds are automatically
                   transferred into the Payroll Account from the Operating Account every other
                   Thursday prior to the Debtors' payroll and as needed to cover certain employee
                   benefit payments.
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                 (e) Money Market Account: The Money Market Account, similar to a generic
                    savings account, yields monthly interest income, though the funds in the Money
                    Market Account are more restricted than those in their other accounts.

          77.    The Debtors' transition into chapter 11 will be significantly less disruptive   if   the

Bank Accounts are maintained following the commencement of the Chapter 11 Cases with the

same account numbers and, where applicable, automated relationship. The Debtors also seek

authority to deposit funds in and withdraw funds from all such accounts postpetition, including,

but not limited to, checks, wire transfers, ACH, electronic funds transfers, and other debits and to

treat the Bank Accounts for all puposes as debtor-in-possession accounts.

          78.    The Debtors also use pre-printed check stock with the relevant Debtor's name

printed thereon and maintain pre-printed correspondence and business forrns such as letterhead,

envelopes and promotional materials. The Debtors          will be able to minimize administrative
expense and delay    if they continue to use their Business Forms substantially in the forms existing
                                                                          o'Debtor-in-Possession"
immediately prior to the Petition Date, without reference to the Debtors'

status.

H.        Motion of the Debtors for Entry of Interim and X'inal Orders (A) Authorizing the
          Debtors to Pay (I) Atl Prepetition Employee Obligations and (II) Prepetition
          Withholding Obligations, and (B) Directing Banks to Honor Related Transfers.

          79,    In order to enable the Debtors to maintain morale during this critical time, retain

their current Employees and Independent Contractors and minimize the personal hardship such

Employees and Independent Contractors may suffer        if   prepetition employee-related obligations

are not paid when due or honored as expected, the Debtors seek authority, in their sole discretion,
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to pay and honor, as the case may be, the Employee Obligations, the Reimbursable Expenses, and

any prepetition claims for Independent Contractors, up to the Statutory Cap.

        80.    The Debtors primarily operate in Florida. Neither SCP nor Blue Palm have current

operations or employees. SCI's workforce is comprised of approximately 97 employees, the

majority of the which work full-time. In addition, three individuals work as independent

contractors: one assists with gathering and preparing the Employee information for payroll, while

the other two are with a professional staffing company and provide accounting services.

        81.    Employees are paid Wages bi-weekly, every other Friday; the average bi-weekly

payroll for 'Wages is approximately $300,000. The Debtors' most recent payroll payment was

made on June 1,2018, for the payroll period ending ly'ray 25,2018. The next payroll payment is

scheduled for June 15,2018. As of the Petition Date, approximately $210,000 in V/ages is accrued

and owed to Employees, with no Employee owed in excess of the Statutory Cap. Two of the

Independent Contractors are paid through accounts payable, with SCI spending approximately

$26,000 per month for their services. As of the Petition Date, approximately $35,000 is due and

owing for the accounting services. Additionally, SCI's average bi-weekly obligation for Payroll

Taxes is approximately $90,000, with approximately $65,000 having accrued as of the Petition

Date.

        82.    Employees begin to accrue PTO as soon as they begin working at SCI, and PTO is

capped at different amounts for Employees based on years of service and position held. Employees

may roll over up to 40 hours of PTO, and SCI pays out accrued but unused PTO upon Employee

departure. As of the Petition Date, approximately $260,000 in PTO is accrued and outstanding.

        83.    SCI has established certain benefit plans for eligible Employees that provide,

among other benefits, medical, dental and vision insurance, life insurance, disability insurance,
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and retirement plans. Nearly all of the Employees participate in the Employee Health Plans, On

average, SCI incurs approximately $95,000 per month on account of the Employee Health Plans.

The Debtors believe that, as of the Petition Date, there is approximately $19,000 in accrued and

unpaid fees in connection with the Employee Health Plans. Additionally, SCI contributes a total

of $6,000 to Employee HSAs each month. The Debtors believe that,     as   of the Petition Date, $9,000

is accrued and unpaid in connection with the HSAs.

          84.    SCI provides Mutual of Omaha Insurance to the Employees, covering I00% of the

average monthly premium of $5,000. The Debtors believe that no amounts are accrued and unpaid

in connection with the Mutual of Omaha Insurance as of the Petition Date. SCI also offers

Employees additional insurance plans to cover excess medical costs through       All   State Insurance.

The average monthly premium of $5,000 for this Critical Illness Insurance is fully funded by

participating Employees; as of the Petition Date, the Debtors believe no amounts are accrued and

unpaid.

          85.    SCI offers Employees the opportunity to enroll in the 401(k) Plan administered by

John Hancock. SCI can match Employee contributions, though it has not done so for 2018. SCI

withholds approximately $22,000 per month from participating Employees' paychecks in

connection with the 401(k) Plan and requests authority to maintain and continue its prepetition

practices with respect to the 401(k) Plan.

          86.    SCI offers its Employees certain other insurance and utilizes a reimbursement plan

for business expenses incurred by its Employees. Overall, the Debtors believe prepetition amounts

due and owing on account of miscellaneous fees and reimbursable expenses               will not exceed

$15,000.
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I.     Motion of the Debtors for Entry of an Order Authorizing the Retention and Payment
       of Professionals Utilized by the Debtors in the Ordinary Course of Business.

       87.     The Ordinary Course Professionals provide services for the Debtors in a variety of

matters unrelated to these Chapter 11 Cases, including accounting services and auditing and tax

services. The Debtors seek authority to retain Ordinary Course Professionals without the

submission of separate retention applications and the issuance of separate retention orders for each

individual professional. The Ordinary Course Professionals          will not be involved in the
administration of these Chapter I I Cases, but rather, will provide services in connection with the

Debtors' ongoing business operations. As a result, the Debtors believe that the Ordinary Course

Professionals are not "professionals" as that term is used in sections 327 or 328 ofthe Bankruptcy

Code, whose retention must be approved by this Court.

       88.     The Debtors propose that they be permitted to pay each Ordinary               Course

Professional, without prior application to the Court, 100% of the fees and disbursements incurred

by such professional after the Petition Date; provided, however,that while these Chapter 11 Cases

are pending, the fees   of each Ordinary Course Professional that are payable by the Debtors,

excluding costs and disbursements, may not exceed $35,000.00 per month or $50,000.00 in the

aggregate per Ordinary Course Professional.

J.     Motion of the Debtors for Entry of an order (A) Establishing Procedures for
       Asserting, Resolving, and Satisfying Reclamation Claims; and (B) Granting Related
       Relief.

       89.     Before the Petition Date and in the ordinary course of the Debtors' business, the

Debtors purchased a variety of goods, components, raw materials, parts, machinery, equipment,

and other property on varying credit terms for use in their operations. As of the Petition Date, the
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Debtors may be in possession of certain Goods delivered by various vendors, suppliers, or other

sellers of Goods for which the Debtors have neither been invoiced nor made payment.

       90.     As a result of these Chapter 11 Cases, the Debtors anticipate that Sellers will likely

assert Reclamation Claims against the Debtors. The Debtors also anticipate that some Sellers may

attempt to interfere with the delivery of Goods to the Debtors or repossess delivered Goods from

the Debtors' manufacturing    facility. Any   such actions by Sellers may result in claim-by-claim

litigation, or may disrupt the Debtors' operations, potentially in a manner negatively affecting

enterprise value or the Debtors' reorganization efforts.

       gL      To avoid harm to the Debtors' efforts to reorganize arising from any piecemeal

litigation or delays and disruptions in the delivery or use of the Goods, the Debtors propose the

Reclamation Procedures for asserting, processing, and satisfying Reclamation Claims, By the

Motion, the Debtors request that all Sellers be prohibited from seeking other means for the

resolution   or other satisfaction of     Reclamation Claims, including, without limitation,

(i) commencing adversary proceedings or contested matters against the Debtors in connection with

any Reclamation Claim except as the Reclamation Procedures permit; (ii) seeking to regain

possession of any Goods except as the Reclamation Procedures permit; or     (iii) interfering with the

delivery of any Goods to the Debtors or the retention of any Goods by the Debtors.

K.     Motion of the Debtors for Entry of an Administrative Order Establishing Proceclures
       for Monthly, Interim, and Final Compensation and Reimbursement of Expenses of
       Professionals Retained in these Chapter LL Cases and Reimbursement of Expenses of
       Committee Members Appointed in theses Chapter l1 Cases.

        92.    By the Motion, the Debtors seek to establish procedures for the payment of        fees


and reimbursement of expenses for Professionals retained pursuant to Court order. The Debtors
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request that the Court exercise its discretion and allow monthly Compensation for Professionals           in

these Chapter 11 Cases.

             93.     The Debtors have filed or      will file a number of      applications, including an

application to retain Greenberg Traurig, LLP as their bankruptcy counsel, MCA Financial Group,

Ltd. as their financial advisor, and JND Corporate Restructuring       as   their claims and noticing agent

as    well   as   their administrative agent. With the likely involvement of additional Professionals,

including Professionals for any official committees, the professional fee application and review

process could be exceptionally burdensome on the Debtors, the U.S. Trustee, the Professionals,

and the      Court. Implementation of the proposed Compensation Procedures will provide an efficient

structure for disbursing Compensation to the Professionals and              will allow all   parties to these

Chapter I 1 Cases to monitor the monthly accrual of Compensation for each Professional.

             94.     The Debtors   will include all payments   made to Professionals in accordance with

the Compensation Procedures in their monthly operating reports identifying the amount paid to

each of the Professionals.

f,.          I)ebtors' Application for Entry of an Order Authorizing Debtors to Employ and
             Retain JND Corporate Restructuring as Claims and Noticing Agent Nunc Pro Tunc
             to the Petition Date Pursuant to 28 U.S.C. $ 156(c), 11 U.S.C. $ 105(a) and
             LBR 2002-1(Ð.

             95.     The Debtors seek entry of an order authorizing the employment and retention of

JND Corporate Restructuring ("JND") as the "Claims and Noticing Agent" in these Chapter 11

Cases. The Debtors and their advisors obtained and reviewed engagement proposals from three

court-approved claims and noticing agents to ensure selection of a Claims and Noticing Agent

through a competitive process.

             96.      Following that review, and in consideration of the anticipated notice parties being

in excess of 1,000, the nature of the Debtors' business, and JND's competitive and reasonable rates
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given their quality of services and expertise, the Debtors selected JND to act as the Debtors' Claims

and Noticing   Agent. The retention of JND   as Claims and   Noticing Agent is necessary and in the

best interest of the Debtors' estates. JND    will relieve the burdens associated with claims    and

noticing services, allowing the Debtors to devote their attention and resources to maximize value

for their stakeholders and facilitate the orderly administration of these Chapter 11 Cases.

        97.     The Debtors and their advisors reviewed JND's Services Agreement, a copy of

which is attached as Exhibit B to the JND Application, and description of services that JND will

render in these Chapter 11 Cases, JND's compensation and other terms of the engagement. Based

on that review, the Debtors believe that all parties in interest will benefit as a result of JND's

experience and cost-effective methods.

M.     Motion of the Debtors for Entry of an Order Authorizing the Debtors to Honor
       Certain Prepetition Obligations to Customers and to Othenvise Continue Certain
       Prepetition Customer Practices and Programs in the Ordin¿ry Course of Business

       98.      Prior to the Petition Date, in the normal course of business, and to accommodate its

customers' needs, the Debtors implemented certain rebates, chargebacks, promotions, other

discounts, and refunds to their customers in satisfaction of accrued prepetition obligations incurred

by the Debtors in the ordinary course of business (the "Customer Programs") to pharmaceutical

companies, retailers and pharmacies.

        99.     The success and viability of the Debtors' business and the Debtors' ability to

successfully maximize value for the stakeholders in these Chapter 1l Cases are dependent in large

part upon the patronage and loyalty of their customers. To spur sales, maintain their customer base

and induce prompt payment, the Debtors maintain various rebate, chargeback, promotion and other

discount policies with respect to their customers. The Customer Programs are fundamental to the

continued success of the Debtors' business because, by design, the Customer Programs encourage

repeat business and ensure customer satisfaction, thereby retaining current customers, attracting
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new customers and ultimately increasing the Debtors' revenue. Maintaining the Customer

Programs is critical to the continuation of customer loyalty and satisfaction, and failure to continue

these programs would severely and irreparably        impair the Debtors' customer relations. If the

Debtors were unable to offer the Customer Programs, they would be at a significant disadvantage

compared to their competitors. Therefore, the ability to continue to provide the Customer Programs

is vital to the Debtors' ongoing relationship with their current and future customers, and their

ability to maintain their market share and customer base, as is critical to effectuate successfully   a


sale of all or substantially all their assets pursuant to section 363 of the Bankruptcy Code.

        100.        These Customer Programs fall generally into one of two product-line categories as

follows:

        101.        Ocean Blue Customer Program. The Debtors maintain a Customer Program in

connection        with its Ocean Blue Line of highly      concentrated omega-3 fatty acid       fish oil

supplements (the "Ocean Blue Customer            Program"). Pursuant to the Ocean Blue Customer

Program, qualifying customers may be entitled to competitive incentives in the form of rebates,

promotions and other discounts. These incentives are determined on a monthly or even weekly

basis in response to the competitive environment for omega-3 supplements. In accordance with

the Ocean Blue Customer Program, during the five (5) month period from January 2018 to May

2018, the Debtors applied a monthly average of approximately $32,000 in rebates, chargebacks,

promotions and other discounts. Due to the nature of the Ocean Blue Customer Program, the

Debtors are unable to estimate the total amount remaining to be applied by the Debtors under the

program as of the Petition Date.

           r02.     Prenatal Vitamins and Dental Health Suoolements Customer Prosram. The
                                                                                          ì


Debtors maintain a Customer Program in connection with its Prenatal Vitamins and Dental Health
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Supplements Line (the "Prenatal Vitamins and Dental Health Supplements Customer Program").

Pursuant to the Prenatal Vitamins and Dental Health Supplements Customer Program, qualifying

customers may be entitled         to   competitive incentives   in the form of   rebates, chargebacks,

promotions and other discounts. These incentives are determined on a monthly or even weekly

basis in tesponse to the competitive environment for prenatal vitamins and fluoride-based dental

health supplements. In accordance with the Prenatal Vitamins and Dental Health Supplements

Customer Program, during the five (5) month period from January 201 8 to May 2018, the Debtors

applied a monthly average of approximately $504,000 in rebates, chargebacks, promotions and

other discounts. Due to the nature of the Prenatal Vitamins and Dental Health Supplements

Customer Program, the Debtors are unable to estimate the total amount remaining to be applied by

the Debtors under the program as of the Petition Date.

N.       Motion of the Debtors for Entry of Interim and Final Orders (A) Authorizing the
         Debtors to Pay Certain Prepetition Claims of Critical Vendors; (B) Authorizing
         Banks to Honor and Process Related Checks And Electronic Transfers; And
         (C) Granting Related Relief

          103.   In an exercise of business judgment, the Debtors have determined that continuing

to receive specialized goods and services from certain critical vendors and service providers (the

"Critical Vendor Claimants", whose claims are ooCritical Vendor Claims") is                necessary to

operate and restructure their business as a going concern and to maximize value for all creditors.

If   granted discretion to satisfy Critical Vendor Claims, as requested in this motion, the Debtors

will   assess, case   by case and in real time, the benef,rts to their estates of paying Critical Vendor

Claims and pay such claims only to the extent their estates will benefit. Without this relief, the

Debtors believe that the Critical Vendor Claimants would cease providing goods and services to

the Debtors or otherwise take action to impede the Debtors' restructuring-a dire result for the

Debtors and their stakeholders.
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        I04.     The Debtors' businesses depend on, among other things, the Debtors' ability to

retain their vendors and service providers and to maintain their reputation and customer loyalty

within the pharmaceutical industry. To operate efficiently their business, the Debtors rely

significantly on third parties who supply the Debtors with essential goods and services.

        105.     The Debtors have thoroughly reviewed their business relationships and identified

the Critical Vendors, the loss of whose particular goods or services would cause immediate and

irreparable harm    to the Debtors' businesses. To identify the Critical Vendors, the Debtors

reviewed their accounts payable and prepetition vendor lists to identify those creditors most

essential to the Debtors' operations pursuant to the following criteria: (a) which suppliers were

sole source or limited source suppliers, without whom the Debtors could not continue to operate

without clisruption, (b) the Debtors' ability to find alternative sources of supply and the potential

disruption or lost revenues while a ne\ry supplier was resourced, (c) which suppliers would be

prohibitively expensive to replace, (d) which suppliers would present an unacceptable risk to the

Debtors' operations given the volume of essential services or products that such suppliers provide,

(e) the extent to which suppliers may have an administrative expense claim pursuant to section

503(bX9) of the Bankruptcy Code; and (f) whether a vendor meeting the foregoing criteria is able

or likely to refuse to ship product to the Debtors postpetition   if   its prepetition balances are not paid,

considering, for example, whether the particular vendor is under a contractual obligation to

perform.

        106.     Under these criteria, the Critical Vendors generally fall into one or more of five

categories:

       ool.eadProduct Candidate Consultants and Suppliers": The consultants are
       chemists and specialized scientists who assist in the formulation and testing of the
       lead product in connection with the pharmaceutical development process.
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       Suppliers provide materials used in the formulation of the development of the lead
       candidate product.

       "Ocean Blue Suppliers": These supplies provide the raw materials used in the
       Ocean Blue Product Line.

       "suppliers of Multiple Products": These supplies provide the raw materials used
       in the production of the Prenatal and Dental Health Supplements Product Line.

       "Operations and Merchant Services": The Debtors use multiple vendors to
       provide services essential to their ability to ensure efficient and reliable operations
       and merchant services, ranging from hosting and processing the electronic data
       interchange site between Sancilio and many of its larger customers (i.e., how sales
       orders are placed with Sancilio from its customers) to merchant services accounts
       that process customer payments in a timely and efficient manner. Any loss of these
       vendors during this critical time following the commencement of these Chapter 11
       Cases, and any delay in the ability to place sales orders or process payments, will
       impair the Debtors' efforts to preserve and maximizethe value of their estates and
       to successfully implement contemplated asset sales.
       ooRegulatory Rebates": Certain programs administered by state agencies and
       participating drug manufacturers. These programs help to offset part of the costs
       of most outpatient prescriptions drugs dispensed to individual beneficiaries.
       Participating manufacturers, including the Debtors, are responsible for paying a
       rebate on those drugs that were dispensed andlor paid for, as applicable, under the
       state plan. These rebates are paid by manufacturers on a quarterly basis to states
       and are shared between the states and the federal government to partially offset the
       overall cost of prescription drugs.

       107. If the Critical Vendors     are not paid, their resulting unwillingness to continue to

provide products or services would cause an interruption of the Debtors' operations. Such an

interruption would cause the Debtors irreparable harm, which would jeopardize the Debtors'

ability to continue to operate their business in the ordinary course. Paying the Critical Vendors

would permit the Debtors to maintain the value of the businesses, maximizing value for the benefit

of creditors and stakeholders. Therefore, the Debtors seek authorization to pay Critical Vendor

Claims to ensure the Debtors' continued receipt of goods and services and favorable credit terms

from the Critical Vendors.
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        108.   The Debtors estimate that, as of the Petition Date, the aggregate amount of the

prepetition accounts payable is approximately $3.5 million, of which the majority will be due and

owing within thirty days after the Petition Date.

                                                V.
                                             Conclusion

        109.   For the reasons described herein and in the First Day Motions, I believe that the

prospect for achieving the Debtors' objectives in these Chapter 1 1 Cases for the benefit of creditors

and other stakeholders   will be substantially   enhanced   if the Court grants the relief   requested in

each of the First Day Motions, and I respectfully request that the Court do so.

                                     fSignature Page Follows.l
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         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct

Dated:   J,rn"S   ,2018

                                                                ve Officer
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                             Exhibit A
                      Corporate Structure Chart




                Preferred and Common Stockholders




                     Sancilio Pha rmaceutica ls
                     Company, lnc. {Delaware
                           corporat¡on)
                       [Chapter L1 Debtor]



                     Sancilio & Company, lnc.
                     ( Delawa re Corporation)

                        [Chapter 11 Debtor]




    g ue Pa m
                          Sancilio Medicaf                 Sancilio
  Advertising, LLC                                     Pharmaceuticals
                             Technology
  {Florida limited      (Shanghai) Co., Ltd            Private Limited
liability company)        (Chinese limited              (lndian private
    [Chapter 11          liability company)           limited company)
       Debto r


                                              All subsidiaries are wholly-owned
